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 4   Telephone: (559) 497-4000

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 7

 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )        1:10-cr-00131 AWI
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            )        STIPULATION RE:
                                        )        CONTINUANCE AND
15                                      )        ORDER
                                        )
16                                      )
     MARK McGRATH and DUSTIN YORK,      )
17                                      )
                                        )
18                                      )
                    Defendant.          )
19   ___________________________________)

20          The above-named Defendants in the above-captioned matter, by

21   and through their respective attorneys, and the United States of

22   America, by and through its attorneys, BENJAMIN B. WAGNER, United

23   States Attorney, and KAREN A. ESCOBAR, Assistant United States

24   Attorney, hereby enter into the following stipulation:

25          1.   The parties to the above-captioned matter agree to vacate

26   their January 23, 2012, sentencing hearings and reset the matter

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28   ////

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 1   for March 5, 2012, at 11:00 a.m., the anticipated new status

 2   conference dates of co-defendants JOSEPH NOLAN and JEREMY DUNN.

 3    DATED: January 19, 2012                     Respectfully submitted,

 4                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 5
                                                  By: /s/ Karen A. Escobar
 6                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 7
                                                   /s/ Charles Lee
 8                                                 CHARLES LEE
                                                   Attorney for Defendant
 9                                                 Mark McGrath

10                                                 /s/ Monica Mihell
                                                   MONICA MIHELL
11                                                 Attorney for Defendant
                                                   Joseph York
12
                                   O R D E R
13
          Having read and considered the foregoing stipulation,
14
          IT IS THE ORDER of the Court that the current sentencing
15
     hearings set January 23, 2012, for the above-named defendants only
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     is hereby vacated and is reset for March 5, 2012, at 11:00 a.m.
17

18   IT IS SO ORDERED.
19
     Dated:       February 8, 2012
20   0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE
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